                              Case:17-03283-LTS Doc#:2718-2 Filed:03/16/18 Entered:03/16/18 15:12:50                                                     Desc:
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Andrew Wolfe Time Detail October 2017

Invoice No.   Matter Name   Date       Timekeeper Name   Position/Title     Hourly Rate   Hours Project Category       Fees   Task Description
October‐17    Title III     10/1/2017 Andrew Wolfe       Advisor to Board   N/A             4.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/2/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/3/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/4/2017 Andrew Wolfe       Advisor to Board   N/A             4.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/5/2017 Andrew Wolfe       Advisor to Board   N/A             4.00 Business operations   N/A    Review of liquidity work and mediation questions
October‐17    Title III     10/6/2017 Andrew Wolfe       Advisor to Board   N/A             6.00 Business operations   N/A    Review of liquidity work
October‐17    Title III     10/7/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/8/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/9/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/10/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/11/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/12/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/13/2017 Andrew Wolfe      Advisor to Board   N/A             4.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/15/2017 Andrew Wolfe      Advisor to Board   N/A             4.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/16/2017 Andrew Wolfe      Advisor to Board   N/A             2.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/17/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/18/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Revision of work to Hurricane Maria
October‐17    Title III     10/29/2017 Andrew Wolfe      Advisor to Board   N/A             2.00 Business operations   N/A    Work on estimates of Hurricane Maria
October‐17    Title III     10/30/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Preparation for subcommittee call
October‐17    Title III     10/31/2017 Andrew Wolfe      Advisor to Board   N/A             6.00 Business operations   N/A    Work on fiscal plan projections
                                                                                          124.00
                             Case:17-03283-LTS Doc#:2718-2 Filed:03/16/18 Entered:03/16/18 15:12:50                                                   Desc:
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Andrew Wolfe Time Detail November 2017

Invoice No. Matter Name   Date       Timekeeper Name   Position/Title     Hourly Rate   Hours Project Category       Fees   Task Description
November‐17 Title III     11/1/2017 Andrew Wolfe       Advisor to Board   N/A             4.00 Business operations   N/A    Work on revised macro framework; work on PREPA declaration
November‐17 Title III     11/2/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/3/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/4/2017 Andrew Wolfe       Advisor to Board   N/A             4.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/5/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro farmework; work on PREPA declaration
November‐17 Title III     11/6/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/7/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/8/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Preparation for upcoming mediation discussion in New York
November‐17 Title III     11/9/2017 Andrew Wolfe       Advisor to Board   N/A             8.00 Business operations   N/A    Discussion in New York with mediators
November‐17 Title III     11/11/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/12/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/13/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/14/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/15/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Work on revised macro framework and preparation for meetings
November‐17 Title III     11/16/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Meeting with stakeholders in San Juan
November‐17 Title III     11/17/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Meeting with stakeholders in San Juan
November‐17 Title III     11/18/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Meeting with stakeholders in San Juan
November‐17 Title III     11/20/2017 Andrew Wolfe      Advisor to Board   N/A            10.00 Business operations   N/A    Fiscal plan preparation work; meeting at DevTech
November‐17 Title III     11/21/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Fiscal plan preparation work
November‐17 Title III     11/22/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Fiscal plan preparation work
November‐17 Title III     11/27/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Fiscal plan preparation work
November‐17 Title III     11/28/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Fiscal plan preparation work
November‐17 Title III     11/29/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Fiscal plan preparation work
November‐17 Title III     11/30/2017 Andrew Wolfe      Advisor to Board   N/A             8.00 Business operations   N/A    Fiscal plan preparation work
                                                                                        186.00
                            Case:17-03283-LTS Doc#:2718-2 Filed:03/16/18 Entered:03/16/18 15:12:50                                               Desc:
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Andrew Wolfe Time Detail December 2017

Invoice No.   Matter Name   Date       Timekeeper Name   Position/Title     Hourly Rate   Hours   Project Category      Fees   Task Description
December‐17   Title III     12/1/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal plan prep
December‐17   Title III     12/4/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Meeting in NYC with Stakeholders at Customs House
December‐17   Title III     12/5/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal plan prep at McKinsey DC
December‐17   Title III     12/6/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Meeting in NYC with creditors at Proskauer
December‐17   Title III     12/7/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/8/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/9/2017 Andrew Wolfe       Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/10/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/11/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/12/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/13/2017 Andrew Wolfe      Advisor to Board   N/A           12.0    Business operations   N/A    Meeting with creditors at Paul Weiss NYC
December‐17   Title III     12/14/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/15/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/16/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/17/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/18/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/19/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/20/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/21/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/22/2017 Andrew Wolfe      Advisor to Board   N/A           8.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/26/2017 Andrew Wolfe      Advisor to Board   N/A           4.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/27/2017 Andrew Wolfe      Advisor to Board   N/A           2.0     Business operations   N/A    Fiscal Plan Prep
December‐17   Title III     12/28/2017 Andrew Wolfe      Advisor to Board   N/A           2.0     Business operations   N/A    Fiscal Plan Prep
                              Case:17-03283-LTS Doc#:2718-2 Filed:03/16/18 Entered:03/16/18 15:12:50                                                       Desc:
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Andrew Wolfe Time Detail January 2018

Invoice No.   Matter NamDate      Timekeeper Name   Position/Title     Hourly Rate Hours      Project Category      Fees   Task Description
January‐18    Title III  1/2/2018 Andrew Wolfe      Advisor to Board   N/A                4.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III  1/3/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III  1/4/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III  1/5/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III  1/8/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III  1/9/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/10/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/11/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/12/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep/Meeting at DevTec
January‐18    Title III 1/14/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/15/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/16/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/17/2018 Andrew Wolfe      Advisor to Board   N/A               12.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/18/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/19/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Meetings in San Juan
January‐18    Title III 1/20/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Meetings in San Juan
January‐18    Title III 1/21/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Meetings in San Juan
January‐18    Title III 1/22/2018 Andrew Wolfe      Advisor to Board   N/A                4.0 Business operations   N/A    Fiscal plan prep
January‐18    Title III 1/23/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/24/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/25/2018 Andrew Wolfe      Advisor to Board   N/A                4.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/26/2018 Andrew Wolfe      Advisor to Board   N/A               14.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/27/2018 Andrew Wolfe      Advisor to Board   N/A                4.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/28/2018 Andrew Wolfe      Advisor to Board   N/A                4.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/29/2018 Andrew Wolfe      Advisor to Board   N/A               10.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/30/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
January‐18    Title III 1/31/2018 Andrew Wolfe      Advisor to Board   N/A                8.0 Business operations   N/A    Fiscal plan prep/Prepa Analysis
                                                                                       208.0
